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                                                                                                                      Hidalgo County Clerks Office
                                                                                                                    Accepted by: Valerie Ortega
                                                   CL-17-1987-H
                                    CAUSE NO.
ABRAHAM HINOJOSA                                         §                     IN THE COUNTY COURT


                                                                                                        T
                                                         §
                                                         §
VS.                                                      §                     AT LAW NUMBER
                                                         §
GREAT LAKES REINSURANCE                                  §
(U .K.) PLC                                              §                     HIDALGO COUNTY, TEXAS

                                 PLAINTIFF’§ QRIQINAL PETITION


 TO THE HONORABLE JUDGE OF SAID COURT:
              ABRAHAM HINOJOSA, Plaintiff herein, ﬁles this Original Petition against Defendant
 GREAT LAKES REINSURANCE                         (U.K)   PLC    and,   in support of his causes             of action, would

 respectfully     show the Court the following:

                                                               I.

                                                     THE EARTIES

         1.          Plaintiff is a   Texas resident who resides        in   Hidalgo County, Texas. Said property

      is   located   at:   809   E Solar Dr.    Mission Texas 78574.

           2.         Defendant,      GREAT LAKES REINSURANCE                          (U.K.)   PLC,    is   a   NEW YORK
Corporation, authorized to engage in the insurance business in the State of Texas, and                             who   issued

policy     number GP14310732817                to plaintiff   named    above. Said Defendant           is    a Surplus Lines

Company authorized to engage in the               insurance business in the State of Texas, and                  may be served
with process by Certiﬁed Mail Return Receipt Requested                       at:   C/O Drinker Biddle 1177 Avenue Of

The Americas FL 41          New York, NY 10036.




                                                                    EXHIBIT A
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                                                            II.
                                                       DISCOVERY

         3.         This case     is   intended to be governed by Discovery Level          3.



                                                            III.
                                                  CLAIM FOR RELIEF

         4.        The damages sought are within the jurisdictional             limits   of this   court. Plaintiff seeks


actual   damages from GREAT LAKES                   REINSURANCE (U.K) PLC. The total damages sought by
Plaintiff against     Defendant for         all   elements of damage does not exceed the               sum of $74,999,

including exemplary and punitive damages, penalties, and attomeys’ fees, but exclusive of interest

and costs.     Plaintiff will not seek or accept        any damages, recover or award that may be rendered in

the above-captioned matter in excessive of $74,999.00. Further, Plaintiff herein hereby renounces

any judgment in excessive of $74,999, exclusive of interest and costs which might be rendered                          in


his favor. See attached Stipulation               of Damages.

                                                            IV.
                                           JURISDICTIQ 2N AND VEN[]E_


         5.         This court has subj ect matter jurisdiction of this cause of action because                        it



involves an amount in controversy in excess of the                  minimum jurisdictional limits of this Court. No

diversity     of citizenship exists in this matter.

         6.         Venue    is        proper in Hidalgo County under Tex. Civ. Prac.                  &   Rem. Code

 §15.002(a)(1) because       all       or a substantial part of the events or omissions giving rise to the claim

 occurred in said County. In particular, the loss at issue occurred in this County.

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         7.         Plaintiff isanamed insured under a property insurance policy issued                        by
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GREAT LAKES REINSURANCE (U.K) PLC.
       8.           On   or about    MARCH 26, 2015, a storm hit the Hidalgo County area,                    damaging

Plaintiffs house and other property. Plaintiff subsequently ﬁled a claim                        on    his insurance


policy.


           9.        Defendant improperly denied and/or underpaid the claim.

           10.      Moreover,    GREAT LAKES REINSURANCE                        (U .K)   PLC   performed an outcome-

oriented investigation of Plaintiffs claim, which resulted in a biased, unfair and inequitable

evaluation of Plaintiffs losses on the property.

                                                         VI.
                                             CAUSES QE             Ag}!   lﬂﬂ


            11.      Each of the foregoing paragraphs         is   incorporated by reference in the following:

A.         Breach of Contract

            12.       GREAT LAKES REINSURANCE                      (U.K)   PLC had       a contract of insurance with

Plaintiff.        GREAT LAKES REINSURANCE (UK) PLC breached                              the terms of that contract      by

wrongfully denying and/or underpaying the claim and Plaintiff was damaged thereby.

B.         Prompt Payment of Claims Statute

            13.      The   failure   of GREAT LAKES      REINSURANCE (U.K) PLC                   to   pay for the losses

and/or to follow the statutory time guidelines for accepting or denying coverage constitutes a

violation of Article 542.051 et seq. of the Texas Insurance Code.


            14.      Plaintiff, therefore, in addition to Plaintiffs        claim for damages,         is entitled to   18%

interest    and attorneys’ fees as     set forth in Article   542.060 of the Texas Insurance Code.

C.         Bad Faith/DTPA
            l5.      Defendant is required to comply with Chapter 541 of the Texas Insurance

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Code.

          16.      Defendant violated        §   541.051 of the Texas Insurance Code by:

                   (1)         making statements misrepresenting the terms and/or beneﬁts of the policy.

          17.      Defendant violated        §   541.060 by:

                   (1)          misrepresenting to Plaintiff a material fact or policy provision relating to

coverage at issue;

                   (2)          failing to attempt in    good      faith to effectuate a   prompt,   fair,   and equitable

settlement of a claim with respect to which the insurer’s liability had                 become reasonably clear;

                   (3)         failing to   promptly provide to Plaintiff a reasonable explanation of the

basis in the policy, in relation to the facts or applicable law, for the insurer’s denial of a claim or

offer   of a compromise settlement of a claim;

                   (4)         failing within a reasonable         time to afﬁrm or deny coverage of a claim to

Plaintiff or    submit a reservation of rights to       Plaintiff;    and

                   (5)         refusing to pay the claim without conducting a reasonable investigation

with respect to the claim;

          18.      Defendant violated § 541.061 by:

                   (1)         making an untrue statement of material           fact;


                   (2)         failing to state a material fact necessary to        make other statements made not

misleading considering the circumstances under which the statements were made;


                   (3)          making a statement      in a   manner    that   would mislead a reasonably prudent

person to a false conclusion of a material            fact;


                   (4)         making a material misstatement of law; and

                   (5)         failing to disclose a matter required        by law to be disclosed.

          19.      At    all   material times hereto, Plaintiff was a consumer             who purchased        insurance
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products and services from Defendant.

           20.      Defendant has violated the Texas Deceptive Trade Practices Act in the

following respects:

                    (1)   Defendant represented that the agreement confers or involves rights, remedies,

or obligations     which it does not have, or involve, or which are prohibited by law;

                    (2)   GREAT LAKES REINSURANCE (U.K) PLC failed                  to disclose information


concerning goods or services which was           known at the time of the transaction when such failure

to disclose such information        was intended   to induce the     consumer   into a transaction that the

consumer would not have entered into had the information been disclosed;

                    (3)     GREAT LAKES REINSURANCE (U.K) PLC,                    by accepting insurance

premiums but refusing without a reasonable basis              to   pay beneﬁts due and owing, engaged in

an unconscionable action or course of action as prohibited by the            DTPA       § l7.50(a)(l)(3) in that

GREAT LAKES RElNSUR.ANCE (U .K) PLC took advantage                        of Plaintiffs lack of knowledge,

ability,   experience, and capacity to a grossly unfair degree, that also resulted in a gross disparity

between the consideration paid        in the transaction   and the value received,      in violation   of Chapter

541 of the Insurance Code.

           21.      Defendant knowingly committed the         acts   complained   of.     As   such, Plaintiff is

entitled to      exemplary and/or treble damages pursuant to the        DTPA    and Texas Insurance Code

§ 541.152(a)-(b).


D.         Attorneys’ Fees

           22.    Plaintiff engaged the undersigned attorney to prosecute this lawsuit against         Defendant

and agreed to pay reasonable attorneys’ fees and expenses through trial and any appeal.

           23.      P1aintiﬁ° is entitled to reasonable   and necessary   atto1'ney’s fees     pursuant to   TEX.
CIV.   PRAC.       &   REM. CODE      §§ 38.001-38.003 because they are represented by an attorney,
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presented the claim to Defendant, and Defendant did not tender the just amount                  owed   before the

expiration of the 30"‘ day after the claim      was presented.

            24.      Plaintiff further prays that   he be awarded   all   reasonable attorneys’ fees incurred in

 prosecuting this causes of action through             trial   and any appeal pursuant to Sections 541.152

 & 542.060 of the Texas Insurance Code.

                                                         VII.
                                        5;! 3NDITION§ PREg §EDEN!



           25.       All conditions precedent to Plaintiff’ s right to recover have been fully performed,

 or have been waived by Defendants.

                                                        VIII.
                                             IQEMA SD FOR JURY

          26.       Pursuant to Rule 216 of the Texas Rules of Civil Procedure, Plaintiff herein requests

a jury   trial   and along with the ﬁling of the Original Petition has tendered         to the Clerk of the   Court

the statutory jury fee.

                                                         IX.
                                          DI         VERY RE UESTS

           27.       Pursuant to Rule 194, you are requested to disclose, within ﬁfty (50) days after

 service of this request, the information or material described in Rule 194.2(a)-(1).

           28.         You   are also requested to respond to the attached interrogatories, requests for

 production and requests for admissions within ﬁfty (50) days, in accordance \m'th the instructions

 stated therein.


                                                          X.
                                                      PRAYER
           WHEREFORE, PREMISES CONSIDERED, Plaintiff herein prays that, upon ﬁnal hearing
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of the case, he recover   all   damages from and against Defendant that may reasonably be established

by a preponderance of the evidence, and that Plaintiff be awarded       attorneys’ fees through trial    and

appeal, costs of court, pre-judgment interest, post—judgment interest, and such other            and ﬁtrther

relief,   general or special, at law or in equity, to which Plaintiff   may show        himself to be justly

entitled.



                                                 Respectfully submitted,

                                                 LAW OFFICE OF JOSE G. GONZALEZ
                                                 2102 W. University Dr.
                                                 Edinburg, Texas 78539
                                                 Telephone:    (956) 383-2143
                                                 Telecopier:     (956)383-2147




                                                          gml                               WP
                                                 By:                               ‘/


                                                        JOSE G. GONZALEZ
                                                        State   Bar No. 24053234
                                                        ATTORNEY FOR PLAINTIFF
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                             PLAINTIFFS’ FIRST SET OF INTERROGATORIES,


           COME NOW          Plaintiffs in the above-styled          and numbered cause, and request          that


Defendant(s) (1) answer the following lnterrogatories separately and fully in writing under oath

within 50 days of service; (2) answer the Requests for Production separately and fully in writing

within 50 days of service; (3) answer the Requests for Admissions separately and fully in writing

within 50 days of service; (4) serve your answers to these Interrogatories, Requests for Production,

and Requests for Admissions on Plaintiff by and through his attorney of record, Jose G. Gonzalez,

Law Office of Jose G. Gonzalez 2102 W. University Dr., Edinburg, Texas 78539; and (5) produce
all   documents responsive to the Requests       for Production as they are kept in the usual course            of

business or organized and labeled to correspond to the categories in the requests within 50 days of

service at the    Law Ofﬁce of Jose G. Gonzalez. You are also advised that you are under a duty to
seasonably      amend your responses if you obtain information on the basis of which:

           a.      You know the response made was incorrect or incomplete when made; or

           b.      You know      the response, though correct and complete             when made,   is   no longer

                   true   and complete, and the circumstances are such that a failure to amend the answer

                   in substance is misleading.


                                  DEFINITIQNS AND IN§TR! 1g 2!               lg   gg
      A.        These Responses call for your personal and present knowledge, as well as the present
                knowledge of your attorneys, investigators and other agents, and for information
                available to you and to them.

      B.        If you cannot answer a particular Interrogatory in full after exercising due diligence to
                secure the information to do so, please state so and answer to the extent possible,
                specifying and explaining your inability to answer the remainder and stating whatever
                infonnation or knowledge you have concerning the unanswered portion.

      C.        If you claim that any document    which       is   required to be identiﬁed or produced by you
                in any response is privileged:
                     1.    Identify the document’s   title   and general subject matter;

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                            State its date;
                            Identify all persons who participated in its preparation;
            f3\S"‘:".““!"   Identify the persons for whom it was prepared or to     whom
                                                                                      it was sent;
                            State the nature of the privilege claimed; and
                            State in detail each and every fact upon which you base your claim for
                            privilege.

  “Documents,” includes any written, recorded or graphic matter, however produced or
  reproduced, of every kind regardless of where located including, but not limited to, medical
  records, tax returns, earnings statements, any summary, schedule, memorandum, note,
  statement, letter, telegraph, interoffrce communication, report, diary, ledger, journal, log,
  desk or pocket calendar or notebook, day book, appointment book, pamphlet,
  periodical, worksheet, cost sheet,    graph, chart, telephone or oral conversation, study,
                                               list,
  analysis, transcript, minutes,     accounting records, data sheet, tally or similar freight
  documents, computer printout, electronic mail, computer disk, and all other memorials of
  any conversations, meetings and conferences, by telephone or otherwise, and any other
  writing or recording which is in your possession, custody or control or in the possession,
  custody or control of any director, ofﬁcer, employee, servant or agent of yours or your
  attorneys. The term “documents” shall also include the ﬁles in which said documents are
  maintained. Electronically stored infonnation should be produced in PDF format.

  “You,” “Your,” “Yours”, “Defendants” and “Defendant” means                       all   Defendants in this case.

  In each instance where you are asked to identify or to state the identity of a person, or where
  the answer to an Interrogatory refers to a person, state with respect to each such person:
            1. her or her name;

            2. her or her last known business and residence address and telephone
                            number; and
            3.              her or her business afﬁliation or employment at the date of the
                            transaction, event or matter referred to.

  Ifyou decide that one question is not simply one question and plan to object based upon
  more than 25 interrogatories, you are instructed to skip that question and continue to
  answer what you consider to be only one question, by answering only the ﬁrst 25 alleged
  single questions. By answering any one numbered question, you are hereby admitting that
  one number question is in fact one question and waive any objection based upon a limit of
  interrogatories.

  “Plaintiffs” and “Plaintiff” includes                all Plaintiffs,   and   refers to a single Plaintiff or
  multiple Plaintiffs, if applicable.

  “Property” means the property at issue in the lawsuit.
       “Lawsuit” means this lawsuit.
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                         REAT LAIE RE S                  CE .K. LC
   Identify the name, address, and role in the claim made the basis of this Lawsuit, if
                                                                                        any,
   for all persons providing information for the answers these interrogatories.


   ANSWER:
   Identify all persons and/or entities   who handled   the claim    made   the basis of the Lawsuit
   on behalf of Defendant.

   ANSWER:
   Does Defendant contend that Plaintiff(s) failed to provide proper notice of the claim
   made the basis of this Lawsuit under either the policy or the Texas Insurance Code, and,
   if so, describe   how the notice was deﬁcient, and identify any resulting prejudice caused to
   Defendant.

   ANSWER:
   Does Defendant claim       that Plaintiff(s) failed to mitigate   hi s damages? If    so, describe
  how Plaintiff failed to do so, identifying any resulting prejudice caused to Defendant.

  ANSWER:
  Does Defendant contend that Plaintiff(s) failed to provide Defendant with requested
  documents and/or information? If so, identify all requests to which Plaintiff(s) did not
  respond and state whether you denied any portion of the claim based on Plaintiffs(s’)
  failure to respond.


  ANSWER:
  At the time the claim made the basis of this Lawsuit was investigated and the Property
  inspected (and prior to anticipation of litigation), describe all damage attributable to the
  storm observed at the Property by Defendant or any persons or entities on behalf of
  Defendant.

  ANSWER:

  Identify all exclusions under the Policy applied to the claim made the basis of this
  Lawsuit, and for each exclusion identiﬁed, state the reason(s) that Defendant relied upon to
  apply that exclusion.

  ANSWER:


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        Describe how Defendant determined whether overhead and proﬁt (“O&P”) should be
        applied to the claim made the basis of this Lawsuit, identifying the criteria for that
        determination.

        ANSWER:
        Identify all items on the claim made the basis of this Lawsuit to which Defendant applied
        depreciation, stating for each item the criteria used and the age of the item.

        ANSWER:
10.     To  the extent Defendant utilized an estimating software program and modiﬁed the
        manufacturer’s settings with respect to Plaintiffs’ claim, identify those modiﬁcations.

        ANSWER:
ll.     State whether  Defendant applied depreciation to the tear off of the damaged roof and/or
        other debris removal in the claim made the basis of this Lawsuit, identifying the basis for
        that depreciation and the applicable policy section under which the tear off was paid
        under.

        ANSWER:
12.     Identify all price lists used to prepare all estimates on the claim made the basis of this
        Lawsuit, stating the manufacturer, version, date and geographical area.

        ANSWER:
13.     To  extent Defendant is aware, state whether the estimate(s) prepared for the claim made
        the basis of lawsuit wrongly included or excluded any item or payment. If so, identify
        each item or payment and state whether it should have been included or excluded from
        the estimates prepared on the claim made the basis this Lawsuit.

        ANSWER:
14.     To the extent Defendant is aware, state any violations of Texas Insurance Code Section
        541 that were discovered on this claim during the claims handling process.

       ANSWER:
15.    To    the extent Defendant
                                is aware, state any violations of Texas Insurance Code Section
       542 that were discovered on this claim during the claims handling process.

       ANSWER:


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16.     To the extent Defendant is aware, state any violations of the requirements or obligations
        owed to Plaintiff(s) under the Policy relating the claim made the basis of this Lawsuit that
        were discovered during the claims handling process.

        ANSWER:
17.     State the date   Defendant ﬁrst anticipated   litigation.


        ANSWER:
18.     State every basis, in fact and in the terms of Plaintiffs policy, for Defendant’s(s’) denial
        or partial denial and/or recommendation of denial or partial denial of Plaintiff s claim(s).

        ANSWER:
19.     Identify every other insurance claim (by name, address and telephone no. of the insured)
        made for property damage in the same city/town as the house at issue in this case, and
        stemming from the same storm, which claim was paid in part or whole. This is limited to
        within 5 miles of Plaintiff s(s’) insured property.

        ANSWER:
20.     Identify   anyone who recommended payment on Plaintiffs      claim(s),   and   if 30, state   what
        amount(s).

        ANSWER:
21.     Give the name, address and telephone number of all persons making a claim with you for
        property damage for the same MARCH 26, 2015 as Plaintiffs claim. This request is
        limited to persons who live within a 5 mile radius of Plaintiffs insured residence.

        ANSWER:
22.     List all of your approved or preferred engineers, third party adjusters/adjusting
        companies, roofers and contractors, for windstorrn claims in Texas from one year prior to
        the   MARCH 26, 2015 at issue to date.
        ANSWER:
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                RE UEST OR PROD TION TOD END NT
                  GREAT LAKES RE _‘jSURANQE (U.K.] PLQ
  The following insurance documents issued    for the Property as identiﬁed in the Petition:
      a.                            MARCH
          the policy at issue for the         26, 2015 as identiﬁed in the
      Petition; and b. the policy declarations page for the 3 years preceding the
      storm.

  RESPONSE:
  Produce underwriting ﬁles and documents relating to the underwriting for all insurance
  policies for the Property at issue. This request is limited to the past 5 years. To the extent
  Defendant contends that the underwriting ﬁle or documents older than 5 years impact the
  damages or coverage, produce    that underwriting ﬁle or   document.

  RESPONSE:
  All documents relating to the condition or damages of the Property or any insurance
  claim on the Property.

  RESPONSE:
  All documents relating to any real property insurance claims made by the Plaintiff(s).
  This request is limited to the past 5 years. To the extent Defendant contends that
  documents older than 5 years impact the damages or coverage, produce that document.

  RESPONSE:
  All requests for information to any third party about the Property, the Plaintiff(s), or the
  claims made the basis of this Lawsuit.

  RESPONSE:
  All documents used to instruct, advise, guide, inform, educate, or assist provided to
                                                                                        any
  person handling the claim made the basis of this Lawsuit that related to the adjustment of
  this type of claim, i.e., hail property damage.


  RESPONSE:
  All documents obtained from any person(s) or entity(ies) and governmental agencies on
  behalf of Defendant or by Defendant relating to the Plaintiff(s), the Property, the
                                                                                      Policy,
  or the claims made the basis of this Lawsuit. This request includes all docmnents
  obtained by way of deposition on written questions.

  RESPONSE:
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        All documents received (prior to litigation) directly or indirectly from Plaintiff(s) or
        created by Plaintiff(s) related to the Property made the basis of this lawsuit. This request
        is limited to the past 5 years. To the extent Defendant contends that
                                                                                any document older
        than 5 years impact the damages or coverage, produce that document.

        RESPONSE:
        Produce a copy of all price lists used to prepare any estimates for the claim made the
        basis of this Lawsuit. To the extent the pricelist is an unmodiﬁed pricelist from a third party,
        you can reference the vendor and version of the pricelist with a stipulation that it is
        unmodiﬁed.

        RESPONSE:
10.     To  the extent Defendant created or altered any prices used in the preparation of an
        estimate in the claim made the basis of this Lawsuit, produce all documents related to the
        creation or alteration of the price, including the original price for that item and the factual
        bases for the creation or alteration.

        RESPONSE:
ll.     A  complete copy the personnel ﬁle related to performance (excluding medical and
        retirement information) for all people and their managers and/or supervisors who directly
        handled the claim made the basis of this Lawsuit, including all documents relating to
        applications for employment, former and current resumes, last known address, job title, job
        descriptions, reviews, evaluations, and all drafts or versions of requested documents. This
        request   is   limited to the past 5 years.

        RESPONSE:
12.     All organizational charts, diagrams, lists, an/or documents reﬂecting each department,
        division or section of Defendant’s company to which the claim made the basis of this
        Lawsuit was assigned.

        RESPONSE:
13.     All Texas insurance licenses and/or certifications in effect at the time of the claims
        arising out of the storms at issue for all persons who worked on the claim made the basis
        of this Lawsuit, including any document relating to the application, issuance or review of
        those licenses and/or certiﬁcations. This request excludes those who perfonned merely
        ministerial acts, i.e. people who answer phones, ﬁle clerks whose only job duty is to
        stamp “received,” etc.

        RESPONSE:



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 14.     If an engineer and/or engineering  ﬁrm evaluated the Property, produce all reports written
         at the request of Defendant by that engineer or engineering ﬁrm within the last 5 years.
         This request is limited to the extent that the engineer and/or engineering ﬁrm was used
         during claims handling.

         RESPONSE:
 15.     Produce      documents showing amounts billed and paid to any. engineer and/or
                     all
         engineering ﬁrm identiﬁed in response to Request for Production above within the last three
         years.  Asummary is acceptable in lieu of actual invoices or payments.

         RESPONSE:
16.      All documents reﬂecting the pre-anticipation of litigation reserVe(s) set on the claim
         made  the basis of this Lawsuit, including any changes to the reserve(s) along with
                                                                                             any
         supporting documentation.

         RESPONSE:
17.      All documents relating to issues of honesty, criminal actions, past criminal record,
         criminal conduct, fraud investigation and/or inappropriate behavior which resulted in
         disciplinary action by Defendant of any person(s) or entity(ies) who handled the claim
         made the basis of this Lawsuit, the P1aintiff(s) or any person assisting on the claim made
         the basis of this Lawsuit.

         RESPONSE:
18.      All documents relating to work performance, claims patterns, claims problems,
         commendations, claims trends, claims recognitions, and/or concerns for any person who
         handled the claim made the basis of this Lawsuit.

         RESPONSE:
19.      All XactAnalysis reports that include this claim in any way, this Policy, the amount paid
         on this Policy and/or referencing any person who handled the claim made the basis of this
         Lawsuit relating to claims arising out of the storm(s) occurring on the date(s) of loss
         claimed by Plaintiff(s).

         RESPONSE:
20.      Any  email or document that transmits, discusses, or analyzes any report produced in
         response to the Request for Production immediately above.

        RESPONSE:



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                                                                                        Accepted by: Valerie Ortega


21.     All Simsol Management reports that include this claim in any way, this Policy, the
        amount paid on this Policy and/or referencing any person who handled the claim made
        the basis of this Lawsuit relating to claims arising out of the hail storms occurring in the
        county of suit on or about the MARCH     26, 2015 claimed by P1aintiff(s).

        RESPONSE:
22.     Any  email or document that transmits, discusses, or analyzes any report produced in
        response to the Request for Production immediately above.

        RESPONSE:
23.     For any consulting expert whose mental impressions or opinions have been reviewed by a
        testifying expert: all documents or tangible things that have been provided to, reviewed
        by, or prepared for the testifying expert.

        RESPONSE:
24.     Pursuant to Texas Rule of Evidence 609(t), provide all documents evidencing conviction
        of a crime which you intend to use as evidence to impeach any party or witness.

        RESPONSE:
25.     All indemnity agreements in effect at the time of Plaintiffs’ claim between Defendant and
        any person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

        RESPONSE:
26.     All contracts in effect at the time of Plaintiffs’ claim between Defendant and any
        person(s) and/or entity(ies) who handled the claim made the basis of the Lawsuit.

        RESPONSE:
27.     All conﬁdentiality agreements and/or instructions regarding conﬁdentiality in effect at
        the time of Plaintiffs’ claim between Defendant and any person(s) and/or entity(ies) who
        the claim made the basis of the Lawsuit.

         RESPONSE:
28.     All documents between Defendant and any person(s) and/or entity(ies) who handled the
        claim made the basis of the Lawsuit regarding document retention policy in effect at the
        time of Plaintiffs’ claim.

        RESPONSE:



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29.     To  the extent the claim involves rescinding of the policy, all documents regarding
        Defendant’s standards for investigating and rescinding and/or voiding a policy.

        RESPONSE:

30.     A    List   ofof your approved or preferred engineers, third party adjusters/adjusting
                         all
        companies, roofers and contractors, for windstorm claims in Texas from one year prior to
        the MARCH 26, 2015 at issue to date.

        RESPONSE:




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          I    ST SET OF RE                S S   FOR ADMI                   S   TO DEFEN      NT
                         GREAT LA            S REINSURAN                    K.   PLC

  REQUEST FOR ADMISSION NO.                            1.    Admit you committed        statutory   bad   faith in
  adjusting Plaintiffs claim.

  RESPONSE:
  REQUEST FOR ADMISSION NO. 2.                              Admit you committed common law bad            faith in
  adjusting Plaintiffs claim.

  RESPONSE:
  REQUEST FOR ADMISSION NO. 3.                     Admit you breached the insurance agreement by
  failing to   pay the   full   amount owed there under.

  RESPONSE:
  REQUEST FOR ADMISSION NO. 4.                 Admit you breached the insurance agreement by
  failing to   pay the full amount owed there under on a timely basis.

  RESPONSE:
  REQUEST FOR ADMISSION NO.                       5. Admit you breached the Texas Prompt Payment
  Act by failing to pay the       ﬁill   amount owed under the policy in a timely fashion.

  RESPONSE:



                                                 Respectfully submitted,

                                                 LAW OFFICE OF JOSE G. GONZALEZ
                                                 2102 W. University Dr.
                                                 Edinburg, Texas 78539
                                                 Telephone:    (956) 383-2143
                                                 Telecopier:   (956)383-2147


                                                                g}"r’A*Q—                      ‘NP

                                                 By:
                                                             JOSE G. GONZALEZ
                                                             State   Bar No. 24053234
                                                             ATTORNEY FOR PLAINTIFF
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                                                                                                              Hidalgo County Clerks Office
                                                                                                         Accepted by: Valerie Ortega

                                              STIPULATION OF DAMAGES
TO THE HONORABLE JUDGE OF THIS COURT:
          ABRAHAM HINOJOSA, hereby stipulates that the amount in controversy in the above-styled and
numbered cause does not exceed the sum or value of $74,999.00, exclusive of                        interest   and   costs.


Speciﬁcally,   ABRAHAM HINOJOSA, stipulates and agree that the “amount in controversy” includes any
and all damages, exclusive of interest and costs, of which Plaintiff seeks to recover by and through the lawsuit

ﬁled herein.

          Plaintiff,    ABRAHAM HINOJOSA, understands that this stipulation will be ﬁled with the Court and
understands that the stipulation will bind the parties    in the   above-referenced lawsuit to the terms stated herein

and through her counsel hereby agrees that they will refuse to execute on the amount exceeding $74,999.00.

          Lead counsel for Plaintiff, Jose G. Gonzalez of the LAW OFFICE OF JOSE G. GONZALEZ, agrees

to   waive any award in excess of $74,999.00.

                                                        AGREED TO BY:
                                                        LAW OFFICE OF JOSE G. GONZALEZ
                                                        2102 W. University Dr.
                                                        Edjnburg, Texas 78539
                                                        Telephone:    (956)383-2143
                                                        Telecopier:   (956) 383-2147



                                                                     Q5411                              w2

                                                               JOSE G. GONZALEZ
                                                               State    Bar No. 24053234
                                                               ATTORNEY FOR PLAINTIFF




         ~
          SUBSCRIBED AND SWORN TO BEFORE ME, on this the 2"“ day of May, 2017,                                 to certify
which witness my hand and ofﬁcial




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                              My Commission Expnes
                                 August 03. 2019
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                                                                                           (TW      ,

                                                                                       and for the State of Texas
